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                        United States District Court
                                                     for tiie
                                           SouAem District of Illinois



                                                          Case Number:          19-616-JPG
      P'.O. &OX. iPbO                                                           fOerfc's Office will provide)
   iMCr^ftfto,mu. (oasis'^
                PlainHff(s)^etitumer(s)
                                                          J^CIVIL RIGHTS COMPLAINT
                                                         pursuant to 42U5.C §1983(State Prisoner)
  CoLtS CoO*rpi Jfttc                                    □ aVIL RIGHTS COMPLAINT
  MEOtGAL                                                pursuant to 28 US.C §1331 (Federal Prisoner)
  101     r^TfteST                                       □ CIVIL COMPLAINT
   CriAftJLt-.STDv^, Xu. UiQAo                           pursuant to the Federal Tort Oaiins Act 28 U5.C
               De^ndant(s)/Resp(mdenl(8)                 §§1346,2671-2680, or other law



 I.       JURISDICTION

          Plaintiff:


          A.    Plaintiffs mailing address, register number, and present place of
                 confinement
                                            Vjouf\3
                        f^cNAv^o Co(=i(=*.tc.noKiAL CtotoreR
                        P.O. »?ioy- iooo
                        (AEisiAAD OIL..           IBIS'S
          Defendant #1:

          B.    Defendant                            C.VVRw>f^g^R<.                         . is employed as
                                            (a)     (Name of First Defendant)
                                      tslOfiSVc
                                            (b)           (Position/Tille)

                 with CotuS CooNiTV 3^1u
                                            (c)     (Employer's Name and Address)

                                     iStRcET ■ Clr\ARvjfc,ST&i>i j .IXL . (ol9<^Q
                At the time the claim(s) alleged this complaint arose, was Defendant #1
                employed by the state, local, or federal government?                      ^ Yes      □ No
                If your answer is YES, briefly explain:
                ■^^^^DlcATleD TO Bxotm                                                               T74<vr syn,
                 Pe-lt X              p)              JC> MokITHS          oP se-v/e-Re
Rev. 7/20/18                      . fvouisifo vsIc4a/ ReT)Acx:> Oocjo^ Cujaoacio tz>
                  PftesejR,e>6                         Ht (AGRteii,
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        Defendant#2:


        C         Defendant        DoCrtbR P\_\>ryAOf^o                            _is employed as
                                         (Name ofSecond Defendant)


                                  DoerpR
                                                (Position/Title)

                  with CouE'S Cooi^tV
                                         (Employer's Name and Address)
                   -701                                                3:u.

                  At the time the daim(s)alleged in this complaint arose, was Defendant #2
                 employed by the state,local,or federal government?               0Yes     □ No

                 If you answer is YES, briefly explain:
                       VVt'Pvri                 npvt Abos/il                      \AJtto              X Difi
                        VVfVxJt.                     SY-iPHV)iiOt'D ^YC.<vtS OnJi-a^ fVrOO NfGGUZCTE'JO
                                      \j5gS^ ^td*macih <VrJo Pft\vj|fVr£
                   Buttoocs naJVHcm vJep^£ Clooteto "WiTVJ Sc<Afb<es.
                   PR^£.P.\e>eo cP)e'fVw\. i^£ c-\.a»mgo x had a Rash,
        AdditionalDefendant(s) (if any):

       D.        Using the outline set forth above, identify any additional Defendant(s).


            OeP^KlO^tJT ^3

              D€PGtJoe-cJr         Aov/AtJC^o <^ftR6'crr>OhJ(Vv. v4cAcrHo^6 XUc.
                                   ' "                                                        i

              IS ewvP>Lo-^£o                    Doctor                                               ,^err
                              v/iTM            —<■   A
              —                                      Coukitv                  lo^ "T^-siHger
              O.VVftRVx£STDtJ, 3^1-» (rj)^0io


                                                                   X Yt:?            Klo
            1"vtc f^ocrsTsf^ C.veAAt>f STArg-jo 31 c>)d hJcrr i-kxtr— ^
                                      woftsi diAse-S                       f\v

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 n.     PREVIOUS LAWSUITS


        A. Have you begun any other lawsuits in state or federal court while you
        were in prison or jail(during either your current or a previous time in prison or
        jail), e.g., dvil actions brought under 42 U.S.C.§1983(state prisoner),28 U.S.C.§
        1331(federal prisoner),28 U.S.C.§§ 1346,2671-2680,or other law? DYes ^No

       B.     If your answer to "A" is YES,describe each lawsuit in the space below. If
              there is more than one lawsuit, you must describe the additional lawsuits
              on another sheet of paper using the same outline. You must list ALL
              lawsuits in any jurisdiction,including those that resulted in the assessment
              of a "strike" under 28 U.S.C § 1915(g) and/or those that were dismissed
              for being frivolous, malicious, or for failure to state a claim (see 28 U.S.C.§
              1915A; 28 U.S.C. § 1915(e)(2); Federal Rule of QvU Procedure 12(b)(6)).
              FAILURE TO FULLY DISCLOSE YOUR LITIGATION HISTORY,
              INCLUDING "STRIKES," MAY RESULT IN SANCTIONS THAT
              INCLUDE DISMISSAL OF THIS ACTION.



              1.      Parties to previous lawsuits:
                      Plainti£f(s):   t^io



                      Defendant(s):



              Z      Court(iffederal court,name of the district;if state court,name of
                     the county):

              3.     Docket number:

              4.     Name ofJudge to whom case was assigned:

              5.     Type of case(for example: Was it a habeas corpus or dvil rights
                     action?):


              6.     Disposition of case(for example: Was the case dismissed? Was it
                     appealed? Is it still pending?):



              7.     Approximate date of filing lawsuit:
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                8.     Approximate date of disposition;



                     Was the case dismissed as being Mvolous,malicious,or for failure to
                     state a claim upon which relief may be granted and/or did flie court
                     tell you that you received a "strike?"



m.       GRIEVANCEPROCEDURE

         A.    Is there a prisoner grievance procedure in the institution?     Yes       □ No

         B.    Did you present the facts relating to your complaint in the prisoner
               grievance procedure?                                          ^ Yes     □ No

         C.    If your answer is YES,
               1.     What steps did you take?                                       n(v-A             vvvJ
                     ■vlrticrt                      TO                                       ^
                      YXJX        kJot Kooy -1_ WAS CiNTnL GiOC.TC>/^ (®
               2.     What was the result?                      XSm<2»wose^ eyrfiBtvig CvtSffv
                      CeKUvJSeu3<^                 fVv-i^uJEf^eo ©aeST^otsi o>A (V\V
                      lC»-i\CiiC,vvrcD _i_ £>\i^ KJcrr rJeto td                Gf^iSv/KWc.c- coiTfJ
                       CoL^S Coo^m-J                 X                                           -jp
        D.     If your answer is NO, explain why not Wiy Rifiirrs.



        E.     If there is no prisoner grievance procedure in the institution, did you
               complain to prison authorities?                            □ Yes      ^ No
               JX    Was -TAKevi                    to                  Se-ftoiOeS AT
                                    iWoTbU> C-Lts Ooo^-n. tMBD.crfH- PtASc^ieu;e
               f
               1.                            ^
                      What steps did you take?                    ^           ^c.c>a>es. D,<,o^oseT.

                     What was the result?




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        G.    If your answer is NO,explain why not.                     S.


        H.    Attach copies of your requestfor an administrative remedy and any
              response you received. If you cannot do so,explain why not:

              ATTOorti^




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IV.      STATEMENT OF CLAIM

         A.    State here, as briefly as possible, when, where, how,and by whom you
               feel your constitutional rights were violated. Do not include legal
               arguments or citations. If you wish to present legal arguments or
               citations,file a separate memorandum of law. If you intend to allege a
               number of related claims, number and set forth each flaiin in a
               separate paragraph. If your claims relate to prison disciplinary
               proceedings, attach copies of the disciplinary charges and any
               disciplinary hearing summary as exhibits. You should also attach any
               relevant,supporting documentation.

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                  fftcr X H^o                                       oF              oo<^it.v5
              or GpavWW CoAft&<^o<Jft<^i-\Tfto                i^i
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         REQUEST FOR RELIEF

         State exactly what you want fliis court to do for you. If you are a state or federal
         prisoner and seek relief which affects thefact or duration of yourimprisonment(for
         example: illegal detention, restoration of good time, expungement of records, or
         parole), you must file your claim on a habeas corpusform,pursuant to 28 U5.C
         §§ 2241,2254,or 2255. Copies of these forms are available from the clerk's office.

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                           vllrhc-w                                                             X^JCcxvlffeW^.
               100 DOO li Tits               3L       SfeSyitVs).,



 VI.     JURY DEMAND(check one box beUno)

         The plaintiff iS does □ does not request a trial by jury.


         DECLARATIONUNDER FEDERAL RULE OF CIVIL PROCEDURE11

Icertify to the best of my knowledge, information, and belief, that this complaint is in full
 compliance with Rule 11(a) and 11(b) of the Federal Rules of Civil Procedure. The
undersigned also recognizes that failure to comply with Rule 11may result in sanctions.




Signed           5 /3^ l}9                          . fioavug 6. \>3
oiu                '    /<Cate)                             Signawe of Plaintim
1)1                    ^r. P.O. 5ok jooo                             5.
                 Street Address                                 Printed Name

  M£//ARn^ r/ ■ (,aaS9
                 Qty, State, 23p                            Prisoner Register Number



                                   Signature of Attorney (if any)




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                        COLES COUNTY BOARD
                                          COUNTY BOARD OFFICE
                                 3RD FLOOR - COUNTY COURTHOUSE
                                         651 JACKSON, ROOM 326
                                        CHARLESTON. ILLINOIS 61920
                                              (217) 348-0595
                                            Fax:(217) 348-7355                                  Brandon Bell
Mike ZuHone                              Email:( pmnybuacl'tyuylesjlais                         Vice Chairman
 Chairman




     April 11,2019



     Donnell Wolfe
     P O Box 448
     Martinsville, IL 62442

     Dear Mr. Wolfe,

      Per your Freedom ofInformation requesting the physician who cared for Barry Wolfe dunng the
      period from October 26,2017 to June,2018,the County's response is as follows:
      Coles County contracts with Advanced Correctional Healthcare, Inc. tor medical services
      provided to inmates in the Correctional Center.
      Thank you.




      Elaine Karpus-Komada
      FOIA Officer
       Coles County

       EKK




                                                                             Jeremy Doughty         Brian Marvin
                           John Doty                Stan Meteger
   Denise Corray                                                                                    Juan Barren
                                                     Rick Shook               Travis CofTey
   Nancy Purdy             Paul Daily
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      also mailacopy ofthat documentto all other parties,or if they have counsel,to that
      attorney. When you file your paper with die derk, you mustindude a Certificate
      of Service, using the format shown below. Any pleading or other document
      received by the courtthatfails to indude a certificate ofservice may be disregarded.
      Note,however,thatsome prison facilities partidpate in an electronic filing program.
      In general, you are not required to mail copies of documents to parties if your
      facility participates in an electronic filing program, because parties who
      participate in electronic filing will receive the document electronically. And,
      pursuant to General Order No.2012-1, the derk will mail a copy of electronically
      filed documents to any party who does not receive the document electronically.
      You may,however,be required to mail copies of a proposed document,such as a
      proposed amendment to a pleading. Additional information about electronic filing
      (and General Order No.2012-1)is available through prison library staff.


                             CERTTFTCATE OF SERVICE



           Icertify thatacopyofthis          T                           mailed/delivered
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      (iLERK oFTHv Couftr                 OjsT:                      ,
 to
           (Name and Address ofParty/Attorney)                       / (Dat




                                                         Signature              /


                                                         Am/ 5, UlxfE
                                                         Printed Name




12,   Do not write letters to the court regarding your case. Such contact is improper. If
      you wish to provide information or ask the court to do something,you mustfile a
      motion with the derk.


13.   You are responsible forlearning and following the procedtures thatgovern the comi
      process. The district judges, magistrate judges, derk of court, and their staff are
      forbidden as a matter of law from providing legal advice. Legal advice should be
      soughtfyom an attorney or legal clijnic.

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